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IN THE UNITED STATES DISTRICT COURT N_ _l _
FOR THE WESTERN DISTRICT OF TENNESSEEUF~" ll l

WESTERN DIVISION
UNITED STATES OF AMERICA, *
Plaintiff, *
v. * CR. NO. 2104Cr2()499-D
JOD]E POPE, *
Defendant. *

 

ORDER GRANTING MOTION TO CONTINUE REPORT DATE AND
EXTEND TIME TO FILE PRETRIAL MOTIONS

 

Before this Court is defendant’s motion to continue report date and extend time to
file pretrial motions, filed May 13, 2005. For good cause shown and with no opposition from the
government, the motion is GRANTED. The report date will be reset by separate notice for sixty
days. This cancels the current setting for May 19, 2005. 'I`he motions deadline is extended to
thirty days from the date of this order.

It is so ORDERED this la day of May, 2005.

 

ITED STATES DISTRICT JUDGE

e docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
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Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Jennifer LaWrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

